CaSe: 1218-mj-03159-T|\/|P DOC #Z 5-3 Filed: 06/25/18 l Of 1. Page|D #Z 27

UNITED S'I'ATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

 

 

 

 

 

TAMPA DIVISION
CLERI('S MINUTES
CASE NO. 8 :l S-mj-1608-T-AAS DATE: I\mc 20, 2018
HONORABLE AMANDA ARNOLD SANSONE INTERPRETER None
LANGUAGE
UNTTED STATES OF AMER]CA AUSA Christopher Poor
v, `Govemment Counsel
NICHOLAS J. POWELI. AFPD Samuel Landes
Defcndant Defense Counsel
COURT RPTRJTAPE Digital DEPUTY CLERK Cathy Morgan
TIME 3:26 - 3:35 TOTAL 9 min COURTROOM IOB

 

PROCEEDINGS: INITIAL APPEARANCE fNOR'I`HERN DISTRICT OF OHIO

(Circle proceedings that apply)

 

 

 

 

 

 

 

 

 

 

 

X Deit provided w!copy of Complaint

X ARREST DATE: Junc 20, 2018

X Court summarized charges

X Court advises of Deft's Rule 5 rights

X Financial At`i`ldavit submitted for approval

X I~`PD appointed for all purposes including trial

X Govt position on detention - risk of flight

X Dcfendant does not contest detention at this time, but reserves the right to revisit
the issue of release in the district of offense

X Court: Will issue a commitment to another district and the defendant will be

transported by the U.S. Marshals to the Northern District of Ohio
X Defcndant requests Preliminary Examination in district of offense
X Defendant waives identity hearing

 

